                    14-198IN THE UNITED STATES DISTRICT COURT                                         /
                  FOR THE EASTERN DISTRICT OF NORTII CAROLINA
                                 WESTERN DIVISION
                                  No. 5:17-CR-284-D
                                  No. 5:21-CV-56-D


NEWTON DAVID BAKER,                            )
                                               )
                            Petitioner,        )
                                               )                      ORDER
                   v.                          )
                                               )
UNITED STATES OF AMERICA,                      )
                                               )
                            Respondent.        )


       For the reasons stated in the government's memorandum of law in support of its motion to

dismiss [D.E. 45], the court GRANTS the government's motion to dismiss [D.E. 44] and

DISMISSES petitioner's motion to vacate under 28 U.S.C. § 2255 [D.E. 38]. After reviewing the

claims presented in petitioner's motion, the court finds that reasonable jurists would not find the

court's treatment of petitioner's_ claims debatable or wrong and that the claims deserve no

encomagement to proceed any further. Accordingly, the court denies a certificate of appealability.

See 28 U.S.C. § 2253(c); Miller-El v. Cockrell, 537 U.S. 322, 336-38 (2003); Slack v. McDaniel,

529 U.S. 473, 484 (2000).

       In sum, the court GRANTS the government's motion to dismiss [D.E. 44], DISMISSES

petitioner's section 2255 motion [D.E. 38], and DENIES a certificate of appealability.

       SO ORDERED. This_(_ day of October, 2021.




                                                     lsc.DEVERm
                                                     United States District Judge



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